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4

5
     Attorney for Defendant
     MELISSA TORRES
6

7
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                        )       Case No. 2:14-cr-00097-MCE-1
10
                                                      )
                                                      )
            Plaintiff,                                )       DEFENDANT’S WAIVER OF
11
                                                      )       APPEARANCE
     v.                                               )
12
                                                      )
     MELISSA TORRES,                                  )
13
                                                      )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
            Defendant.                                )
                                                      )
15
                                                      )
                                                      )
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18
            Pursuant to Fed.R.Crim.P. 43, defendant, MELISSA TORRES, hereby waives the right to
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     be present in person in open court upon the hearing of any motion or other proceeding in this
20
     case, including, but not limited to, when the case is set for trial, when a continuance is ordered,
21
     and when other action is taken by the Court before or after trial, except upon arraignment, initial
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     appearance, trial confirmation hearing, entry of plea, and every stage of trial including verdict,
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     impanelment of jury and imposition of sentence.
24
            Defendant hereby requests the Court to proceed during every absence of hers which the
25
     Court may permit pursuant to this waiver and agrees that her interests will be deemed
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     represented at all times by the presence of her attorney, the same as if the defendant were
27
     personally present. Defendant further agrees to be present in Court ready for trial any day and
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     hour the Court may fix in her absence.


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1           The defendant further acknowledges that she has been informed of her rights under Title
2    18 U.S.C §§ 3161-3174 (The Speedy Trial Act) and authorizes her attorney to set times and
3    delays without her personal appearance.
4

5    Dated: 5/1/14
6

7                                                         /s/ Melissa Torres
                                                         MELISSA TORRES
8
                                                         (Original retained by attorney)
9

10
            I concur in Melissa Torres' decision to waive her presence at future proceedings.
11

12
     Dated: 5/1/14                                       Respectfully submitted,
13

14
                                                          /s/ John R. Manning
15                                                       JOHN R. MANNING
                                                         Attorney at Law
16
                                                         Attorney for Defendant
17                                                       MELISSA TORRES
18

19                                              ORDER

20          IT IS SO ORDERED.

21   Dated: May 13, 2014
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